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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA

      vs.                  CASE NO. 4:07cr00086-23 JMM

DEONDREY WRIGHT a/k/a Dre



                      AMENDED JUDGMENT & COMMITMENT

      Due to a clerical error, the judgment and commitment entered in this case on May

30, 2008 (docket entry #495), is amended to show the correct term of supervised release.

As stated on record during the sentencing hearing held May 29, 2008, the term of

supervised release is two (2) years.

      The remaining portions of the Judgment will remain in full force and effect.

      The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Office.

      IT IS SO ORDERED this 17th day of June, 2008.




                                                 UNITED STATES DISTRICT JUDGE
